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                                                                    CV-2018-960033.00
                                                                  IRCUIT COURT OF
                                                              SSELL COUNTY ALABAIVIA
              IN THE CIRCUIT COURT OF RUSSELL COUNTY-            DY SELLER,

TANYA EDWARDS and RICARDO
JOHN FITZGERALD EDWARDS;

                        Plaintiffs,
vs.                                                   Case No.57-CV-2018-900033
                                                       JURY DEMANDED
WALMART INC.; et al;

                        Defendants.


         Pursuant to Rules 15 and 9(h)of the Ala. R. Civ. P., Plaintiffs hereby amend their

Complaint, both the body and style thereof, to reflect the proper name of Defendant, Wal-Mart

Stores East, LP,in all places where Walmart Inc. is named as defendant. As Amended,Plaintiffs'

Complaint shall read as follows:


               IN THE CIRCUIT COURT OF RUSSELL COUNTY,ALABAMA

TANYA EDWARDS and RICARDO
JOHN FITZGERALD EDWARDS;
              Plaintiffs,
vs.                                                   Case No.57-CV-2018-900033
                                                       JURY DEMANDED
WAL-MART STORES EAST,LP and;
NO. 1, whether singular or plural, being that individual or entity who or
that was doing business as Wal-Mart Stores Fast, LP at the time of the
occurrence made the basis of Plaintiffs' Complaint;
NO. 2, whether singular or plural, being that individual or entity who or
which was doing business as Walmart and was located at 3700 Hwy
280/431 N, Phenix City, AL 36867 at the time of the occurrence made the
basis of Plaintiffs' Complaint;
NO. 3, whether singular or plural, being that entity who or which owned
or was in control of Walmart located at 3700 Hwy 280/431 N, Phenix
City, AL 36867 at the time of the occurrence made the basis of Plaintiffs'
complaint;
NO. 4, whether singular or plural, being that entity for whom any
defendant herein named was acting as agent within the line and scope of
its authority at the time of the occurrence made the basis of Plaintiffs'
Complaint;
NO. 5, whether singular or plural, being that entity or those entities
including persons who or which failed to identify or remedy known or
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foreseeable hazards regarding the subject shopping cart mover/caddy/
pusher involved in the occurrence made the basis of Plaintiffs' complaint;
NO. 6, whether singular or plural, being that entity which hired and/or
trained the employee(s) involved in the occurrence made the basis of
Plaintiffs' Complaint;
NO.7, whether singular or plural, being that entity who or which issued or
had a duty to issue warnings and/or instructions regarding the subject
shopping cart mover/caddy/pusher involved in the occurrence made the
basis of Plaintiffs' complaint;
NO. 8, whether singular or plural, being that entity other than those
entities described above, whose negligence, wantonness, breach of
warranty or other wrongful conduct contributed to the cause the
occurrence made the basis of Plaintiffs' Complaint;
NO. 9, whether singular or plural, being that entity or those entities
including persons who or which failed to identify or remedy known or
foreseeable hazards regarding the shopping cart mover/caddy/pusher
involved in the occurrence made the basis of plaintiffs' complaint
NO. 10, whether singular or plural, being that entity or those entities who
or which followed negligent maintenance and management practices in
keeping the shopping cart mover/caddy/pusher safe which was involved in
the occurrence made the basis of plaintiffs' complaint;
NO. 11, whether singular or plural, being that entity who or which issued
or had a duty to issue warnings and/or instructions regarding the shopping
cart mover/caddy/pusher involved in the occurrence made the basis of
plaintiffs' complaint;
NO. 12, whether singular or plural, being that entity who or which
designed, manufactured, distributed, sold, installed and/or maintained the
shopping cart mover/caddy/pusher involved in the occurrence made the
basis of plaintiffs' complaint
NO. 13, whether singular or plural, being that entity who or which
designed, manufactured, distributed, sold, installed and/or maintained the
component parts of the shopping cart mover/caddy/pusher involved in the
occurrence made the basis of plaintiffs' complaint
NO. 14, whether singular or plural, being that entity who or which was the
safety director or risk manager at the time of and/or involved in the
occurrence made the basis of Plaintiffs' complaint;
NO. 15, whether singular or plural, being that entity who or which was the
individual responsible for safety in the workplace at the time and place of
the occurrence made the basis of Plaintiffs' complaint;
NO. 16, whether singular or plural, being that entity who or which had the
overall responsibility for ensuring that the shopping cart mover/caddy/
pusher made the basis of Plaintiffs' complaint was in a safe condition at
the time ofthe occurrence made the basis of Plaintiffs' complaint;
NO. 17, whether singular or plural, being that entity who or which was the
manager or in charge of shopping carts at the time of the occurrence made
the basis ofPlaintiffs' complaint


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NO. 18, whether singular or plural, being that entity who or which was the
manager over the maintenance department at the time of and/or involved
in the occurrence made the basis ofPlaintiffs' complaint;
NO. 19, whether singular or plural, being that entity other than those
entities described above, whose negligence, wantonness, or other wrongful
conduct contributed to cause the occurrence made the basis of Plaintiffs'
Complaint;
NO. 20, whether singular or plural, being that individual or individuals
and/or entity other than those entities described above having any
ownership interest in Wal-Mart Stores East, LP at the time of the
occurrence made the basis of Plaintiffs' complaint;
NO. 21, whether singular or plural, being that individual or entity other
than those individuals or entities described above, who or that is the
successor in interest of those entities described above; Plaintiff avers that
the identity of the fictitious party defendants are otherwise unknown to
Plaintiff at this time, or if their names are known to Plaintiff at this time,
their identities as proper party defendants are not known to Plaintiff at this
time, and their true names will be substituted by amendment when the
aforesaid lacking knowledge is ascertained;
                         Defendants.


                               FIRST AMENDED COMPLAINT

        For First Amended Complaint in the above-styled cause, Plaintiffs aVer as follows;

                                PARTIES AND JURISDICTION

1.      Plaintiff Tanya Edwards is an adult resident and citizen ofRussell County, Alabama.

2.      Plaintiff Ricardo John Fitzgerald Edwards is an adult resident and citizen of Russell

        County and the lawful spouse ofTanya Edwards at all times relevant herein.

        Defendant Wal-Mart Stores East, LP is a Delaware corporation with its principal place of

        business in Arkansas and doing business in Russell County, Alabama at all times relevant

        herein.

4.      The incident made the subject of this Complaint took place in Phenix City, Russell County,

        Alabama,on March 26, 2016.

                                            COUNT I
                                    NEGLIGENCE/WANTONNESS.


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5.      Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

        and incorporate same by this reference.

6.      On or about March 26, 2016, Tanya Edwards was a business invitee at Defendant Wal-

        Mart Stores East, LP located at 3700 Hwy 280/431 N, Phenix City, AL 36867. While

        lawfully on Defendant's premises, Tanya Edwards was in a cart corral getting a cart. The

        cart was stuck so she had her left foot on the bottom of the cart and was attempting to

        shake it loose when one of Defendant's employees was moving carts while utilizing a

        shopping cart mover/caddy/pusher and slammed about 20 carts into plaintiffs person,

        specifically, into her knee. At said time, Defendants and/or one or more of the fictitious

        parties defendants listed and/or described in Plaintiffs' complaint negligently or wantonly

        failed to maintain the premises in a safe condition, such failure causing Plaintiff to suffer

        injury. Defendants were negligent or wanton in one or more of the following respects:

        a.     Defendants failed to exercise reasonable care to provide and maintain reasonably
               safe premises for use by those persons lawfully on their premises;
        b.     Defendants breached their duty to be reasonably sure that they were not inviting
               another into a situation of danger or peril;
        c.     Defendants breached their duty to warn invitees of defects and danger associated
               with the premises;
        d.     Defendants failed to maintain the premises in such a manner so as not to
               constitute a hazard to those persons on the premises;
        e.     Defendants failed to inspect, remove or alter conditions on the premises which
               were likely to cause injury or damage;
        f.     Defendants failed to identify or remedy known or foreseeable hazards.

7.      As a proximate result of defendant's conduct, Plaintiff was caused to suffer the following

        injuries and damages:

        a_     She incurred, and continues to incur, physical pain and suffering as a result of the
               physical injuries sustained in the above described incident including, but, not
               limited to knee pain and weakness, altered gait, carpal tunnel syndrome has been
               exacerbated, trouble sleeping, anxiety and depression;



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        b.     She incurred, and continues to incur, mental pain and anguish as a result of the
               physical injuries sustained in the above described incident;
        c.     She incurred, and continues to incur, medical expenses in and about an effort to
               cure and/or heal the physical injuries sustained in the above described incident;
        d.     She incurred, and continues to incur, loss of enjoyment of life as a result of the
               physical injuries sustained in the above described incident;
        e.     She incurred permanent impairrnent and disabilities as a result of the physical
               injuries sustained in the above described incident
        f.     She incurred, and continues to ineur, lost wages as a result of the physical injuries
               sustained in the above described incident.

8.      Plaintiff was injured as a result of the failure of a Walmart employee's negligent use of

        the shopping cart mover/caddy/pusher located on the premises of Wal-Mart Stores East,

        LP which shopping cart mover/caddy/pusher was negligently/wantonly utilized,

        designed, manufactured, installed, repaired, distributed, sold, and/or maintained by Wal-

        Mart Stores East, LP and/or one or more fictitious party defendants described in the

        caption ofPlaintiffs
                           'comptaint.

9.      Wal-Mart Stores East, LP and/or one or more fictitious party defendants described in the

        caption of Plaintiffs' complaint failed to exercise reasonable prudence in the utilization,

        design, manufacture, distribution, marketing, sale, installation and/or maintenance of the

        shopping cart mover/caddy/pusher, resulting in injury to Plaintiff.

10.     Wal-Mart Stores East, LP and/or their agents owed Plaintiff the duty of reasonable care.

1 l.    Wal-Mart Stores East, LP and/or one or more said fictitious party defendants, were

        negligent or wanton and breached their duties in:

        a.     the design, manufacture, distribution, marketing, sale, installation and/or
               maintenance of the shopping cart mover/caddy/pusher, and associated component
               parts, containing inadequate or insufficient materials for its reasonable foreseeable
               use;
        b.     the design, manufacture, distribution, marketing, sale, installation and/or
               maintenance of the shopping cart mover/caddy/pusher and associated component
               parts that lack adequate safeguards, fail-safe mechanisms or safety devices to
               prevent serious injuries under foreseeable uses;



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        c.      the design, manufacture, distribution, marketing, sale, installation and/or
                maintenance of the shopping cart mover/caddy/pusher and associated component
                parts without providing adequate instructions and warnings for safe use and of the
                hazards associated with the design under reasonably foreseeable uses;
        d.      Failing to recall the units in the field, provide retrofit modifications kits, launch a
                warning campaign, or take any other steps which a reasonably prudent
                manufacturer and seller of the shopping cart mover/caddy/pusher and associated
                component parts would have taken to alert purchasers, users, and others of the
                hazards and deficiencies or operation and use of the products which defendants
                knew or should have known existed subsequent to the sale but prior to the date of
                this occurrence;
        e.      Failing to adequately and properly undertake and carry out tests and research
                concerning the shopping cart mover/caddy/pusher and associated component parts
                before and after its design, manufacture, distribution, marketing, sale, installation
                and/or maintenance;
        f.      Failing to test the shopping cart mover/caddy/pusher as to potential serious
                injuries to persons;
                Failing to issue advice and adequate warnings to owners and users of the
                shopping cart mover/caddy/pusher concerning the hazards present in the shopping
                cart mover/caddy/pusher and associated component parts;
        g.      Failing to incorporate an automatic safety system, rendering the shopping cart
                mover/caddy/pusher defective and dangerous;

12.     The foregoing acts and omissions were jointly and severally a proximate cause of

        Plaintiffs' injuries.

13.     The conduct of Defendants Wal-Mart Stores East, LP and/or one or more of the fictitious

        parties defendants listed and/or described in Plaintiffs' complaint was wanton, willful and

        outrageous beyond all standards of common decency in reckless disregard and in callous

        indifference to the public. As a result of the negligence or wantonness of Wal-Mart

        Stores East, LP and/or one or more fictitious party defendants described above, Plaintiff

        suffered severe physical injuries.

        WHEREFORE,Plaintiffs demand judgment against said defendants, and each of them, in

an amount the jury deems fair and just under the circumstances, punitive damages and costs of

court




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                                      COUNT II.
                            NEGLIGENCE/WANTONNESS PER SE
                               WAL-MART STORES EAST,LP

14.      Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

         and incorporate same as if fully set out herein.

15.      Wal-Mart Stores East, LP and/or one or more of the fictitious party defendants described

         above were negligent or wanton and breached their duties in:

         a.     Negligently or wantonly installed and set-up the shopping cart mover/
                caddy/pusher made the basis of Plaintiffs' complaint;
         b.     Negligently or wantonly failed to follow the instructions which came with the
                subject shopping cart mover/caddy/pusher;
         c.     Negligently or wantonly failed to properly train its employees in proper use of the
                shopping cart mover/caddy/pusher;
         d.     Negligently or wantonly failed to utilize additional employees when utilizing the
                shopping cart mover/caddy/pusher to watch for persons who may be injured if
                struck by moving or pushed shopping carts;
         e.     Negligently or wantonly failed to warn users that the shopping cart
                mover/caddy/pusher could injure persons who were near the shopping carts being
                accessed;
         f.     Negligently or wantonly placed the subject shopping cart mover/caddy/ usher into
                use by inadequately trained employees;
         g.     Negligently or wantonly failed to exercise reasonable care.

16.      Defendant Wal-Mart Stores East, LP and/or one or more of the fictitious parties

         defendants listed and/or described in Plaintiffs' complaint were further guilty of

         negligence or wantonness per se in that the defendants violated one or more of the

         following statutes of the State of Alabama contained in the Alabama Code, which was in

         full force and effect at the date and time of the incident made the basis of Plaintiffs'

         Complaint:

         a.     Failure to comply with the State of Alabama Implied Warranty: Fitness for
                Particular purpose:
                Section 7-2-315 Implied warranty: Fitness for particular purpose.

                Where the seller at the time of contracting has reason to know any
                particular purpose for which the good.s are required and that the buyer is


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                relying on the seller's skill or judgment to select or fiunish suitable goods,
                there is unless excluded or modified under Section 7-2-316 an implied
                warranty that the goods shall be fit for such purpose.

17.      As a proximate consequence of the negligence or wantonness per se of Defendant Wal-

         Mart Stores East, LP and/or one or more of the fictitious parties defendants listed and/or

         described in Plaintiffs' complaint, Plaintiff was caused to suffer the injuries and damages

         as described above herein.

         WHEREFORE, Plaintiffs demand judgment against defendants, and each of them, in an

amount the jury deems fair and just under the circumstances, punitive damages, costs of court.


                                       COUNT III.
                                     DESIGN DEFECT
                        FICTITIOUS PARTY DEFENDANTS 12 AND 13

18.      Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

         and incorporate said paragraphs as if fiilly set out herein.

19.      The shopping cart mover/caddy/pusher was designed, developed, tested, assembled,

         manufactured, packaged, labeled, prepared, distributed, marketed, retailed, supplied

         and/or sold by Fictitious Party Defendants 12 and 13 and/or one or more of the other

         fictitious parties' defendants listed and/or described in the caption of Plaintiffs'

         complaint, and said shopping cart mover/caddy/pusher was defective at the time of

         manufacture and marketing and was defectively designed and/or manufactured so as to be

         unreasonably dangerous to consumers, including Plaintiff.

20.      The shopping cart mover/caddy/pusher was marketed by Fictitious Party Defendants 12

         and 13 and/or one or more of the other fictitious parties' defendants listed and/or

         described in the caption of Plaintiffs' complaint for use by consumers, and plaintiff

         became a consumer and relied upon the safety ofthe defendants' product.


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21.     At all times relevant herein, the shopping cart mover/caddy/pusher and the sales and

        promotional materials, developed, tested, assembled, manufactured, packaged, labeled,

        prepared, distributed, marketed, retailed, supplied and/or sold by named defendants

        and/or one or more of the fictitious parties' defendants were defective including one or

        more of the following particulars:

        a.        The shopping Cart mover/caddy/pusher contained unreasonably dangerous design
                  defects and was not reasonably safe as intended to be used, subjecting Plaintiff to
                  risks which exceeded the benefits of the device;
        b.        The shopping cart mover/caddy/pusher was defective in design and formulation,
                  making use of the product more dangerous than the ordinary consumer would
                  expect;
        c.        The shopping cart mover/caddy/pusher contained insufficient and/or incorrect
                  warnings to alert consumers and users, including Plaintiff, of adverse effects and
                  risks thereto;
        d.        The shopping cart mover/caddy/pusher was not safe for its marketed use;
        e.        The shopping cart mover/caddy/pusher was inadequately tested;
        f.        The shopping cart mover/caddy/pusher was not accompanied by adequate
                  instructions and/or warnings to fully apprize the ultimate consumers, including
                  Plaintiff, ofthe full nature or extent of the risks and side effects associated with its
                  use.

21      At the time of its manufacture and sale, the shopping cart mover/caddy/pusher was unsafe

        and defective to consumers using said product for their advertised purpose and in a

        reasonably foreseeable manner in that they posed an unreasonably high risk of serious

        injury to consumers, which information was concealed by Defendants.

        WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just, punitive damages and attorneys fees, interest, and

costs of court.

                                        COUNT IV
                                  MANUFACTURIls1G DEFECT
                         FICTITIOUS PAI1TY DEFENDANTS 12 AND 13




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23.    Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

       and incorporate same as if fully set out herein.

24.     Defendants' shopping cart mover/caddy/pusher which reached plaintiff had an impurity,

       imperfection, and/or another product defect allowed to be created, contained or placed

        within the product in the manufacturing process; this impurity, irnperfection, and/or other

        product defect was a deviation from design and quality manufacturing standards.

25.    The shopping cart mover/caddy/pusher was in a defective condition and unreasonably

       dangerous to plaintiff when it left the Defendants' control.

76.    The shopping cart mover/caddy/pusher was used in the manner intended.

        WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just, punitive damages and attorneys fees, interest, and

costs of court.


                                      COUNT V
                            BREACH OF IMPLIED WARRANTY
                        FICTITIOUS PARTY DEFENDANTS 12 AND 13

27.     Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

28.    The shopping cart mover/caddy/pusher was defective at the time it left the control of

        Fictitious Party Defendants 12 and l3 and/or one or more of the fictitious parties

        defendants named and/or described in the caption of _Plaintiffs' complaint, and was

        dangerous and unsafe for the reasonably foreseeable uses to which it would be put in that:

                  It was the result of an inadequate design which inadequately protected persons
                  against serious injuries during reasonably foreseeable uses;
       b.         It lacked adequate instructions for safe use;
       c.         It lacked adequate and necessary warnings alerting purchasers, users and others of
                  the hazards associated with the design and manufacture or any reasonable
                  precautionary measures to be taken to avoid injuries;



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         d.     It lacked adequate and necessary safeguards, fail-safe mechanisms, or safety
                devices to prevent injury under reasonably foreseeable uses;

29.      Plaintiff suffered serious bodily injury as a result of the fact that the shopping cart

         mover/caddy/pusher was not merchantable and was not reasonably suited to the use for

         which it was intended when sold by the defendants, and its condition when sold was a

         proximate cause of the injuries sustained by plaintiffs.

30.      The aforementioned defects, and each of them, was a proximate cause of Plaintiffs'

         injuries, or an enhancement thereof, and rendered defendants liable to Plaintiff

         WHEREFORE, Plaintiffs demand judgrnent against defendants, and each of them in an

amount the jury deems fair and just under the circumstances, punitive damages, and costs of

court.

                            • COUNT. VI
     ALABAMA EXTENDED MANUFACTURER'S LIABILITY DOCTRINE
                              (AEMLD)
  WAL-MART STORES EAST,LP; FICTITIOUS PARTY_DEFENDANTS.12 AND 13

31.      Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs
         and incorporate same as if fully set out herein.

32.      Wal-Mart Stores East, LP, Fictitious Party Defendants 12 and 13 and/or one or more of

         the fictitious party defendants listed in the caption of Plaintiffs' complaint were the
         designers, manufacturers, wholesalers, distributors, installers, sellers and/or maintainers

         of the shopping cart mover/caddy/pusher which seriously injured Plaintiff at the time of
         the incident made the basis of Plaintiffs' Complaint and said shopping cart mover/
         caddy/pusher reached the ultimate user without any substantial change in its condition

         from the time it was designed, manufactured, etc. by one or more of the fictitious party

         defendants.




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33.    The shopping cart mover/caddy/pusher was not reasonably safe when being used in a
       foreseeable manner, but to the contrary, it was defective and unreasonably dangerous
       when being so used.
34.    Walmart and/or one or more of the fictitious party defendants named in the caption of
       Plaintiffs' Complaint, knew, or in the exercise of reasonable care, should have known,
       that said shopping cart mover/caddy/pusher was unreasonably dangerous to persons using
       said shopping cart mover/caddy/pusher in a foreseeable manner.
35.    At the time of Plaintiffs' injury the shopping cart mover/caddy/pusher was being used as
       it was intended to be used, and as a proximate result of defective and/or unreasonably
       dangerous condition of said shopping cart mover/caddy/pusher, Plaintiff suffered injuries
       and darnages as described in hereinabove.
36.    The conduct of said defendants combined and concurred and was a proximate cause of
       the Plaintiffs' injuries and rendered said defendants liable to Plaintiffs pursuant to the
       Alabama Extended Manufacturer's Liability Doctrine.
       WHEREFORE, plaintiffs demand judgment against defendants, and each of them in an
amount the jury deems fair and just under the circumstances, punitive darnages, attorney's fees,
and costs ofcourt.

                            COUNT WI
                 BREACH OF EXPRESS WARRANTY
  WAL-MART STORES EAST,LP; FICTITIOUS PARTY DEFENDANTS 12 AND 13

37.    Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs
       and incorporate same as if fully set out herein.
38.    Defendant Wal-Mart Stores East, LP and/or one or more of the fictitious parties
       defendants listed and/or described in Plaintiffs' complaint expressed in their literature,
       advertisements, promotions, and through representations by their marketing team and
       sales agents that the shopping cart mover/caddy/pusher was safe, effective, and fit for the
       use for which it was designed, manufactured and marketed; by making said


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       representations,   Defendants      expressly       warranted   that   the   shopping   cart

       mover/caddy/pusher was safe and effective, and fit for the uses for which it was designed,
       marketed, manufactured, and distributed.

39.    Plaintiff relied upon said defendants' express warranties.
40.    The shopping cart mover/caddy/pusher was not safe, effective, fit., nor proper for the use
       for which it was designed, manufactured and marketed.

       WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just, punitive damages and attorneys fees, interest, and

costs ofcourt.

                                     COUNT VIII
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             FICTITIOUS PARTY DEFENDANTS

41.    Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

       and incorporate same as if fully set out herein.

42.    On or about March 26, 2016, Plaintiff Tanya Edwards received and used a shopping cart

       mover/caddy/pusher manufactured by one or more of the fictitious parties defendants

       listed and/or described in Plaintiffs' complaint. Defendants impliedly warranted that said

       product was merchantable pursuant to UCC § 2-314 and suitable for the ordinary

       purposes for which it was to be used.

43.    Defendanes shopping cart mover/caddy/pusher was not merchantable nor reasonably

       suitable for the ordinary purposes for which it was being used and therefore, Defendant

       breached UCC § 2-314.

       WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just, punitive damages and attorneys fees, interest, and

costs ofcourt.



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                                         COUNT IX
                           BREACH OF IMPLIED_ WARRANTY OF FITNESS
                               FICTITIOUS PARTY DEFENDANTS

44.      Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

         and incorporate same as if fully set out herein.

45.      One or more of the fictitious parties defendants listed and/or described in Plaintiffs'

         complaint impliedly warranted, pursuant to UCC § 2-315, that the shopping cart

         mover/caddy/pusher was fit for the particular purpose for which it was being used.

         Defendants' shopping cart mover/caddy/pusher was not fit for the particular purpose for

         which it was used and, therefore, Defendants breached UCC § 2-315.

         WHEREFORE,Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the juiy deems fair and just, punitive damages and attorneys fees, interest, and

costs ofcourt.

                                          COUNT X
                                   FRAUDULENT CONCEALMENT
                                        WALMART INC

46.      Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

         and incorporate same as if fully set out herein.

47.      At all times during the course of dealings between Defendant Wal-Mart Stores East, LP

         and/or one or more of the fictitious parties defendants listed and/or described in

         Plaintiffs' complaint and Plaintiff, Defendants misrepresented the safety of the shopping

         cart mover/caddy/pusher. Defendants knew or were reckless in not knowing that its

         representations were false.




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48.   In representations to Plaintiff, Defendants Wal-Mart Stores East, LP and/or one or more

      of the fictitious parties defendants listed and/or described in Plaintiffs' complaint

      fraudulently concealed and intentionally omitted the following material information:

      a.     That the shopping cart mover/caddy/pusher was not as safe as other shopping cart
             mover/caddy/pushers;
      b.     That the risk of injury with the shopping cart mover/caddy/pusher was not
             adequately tested and/or completely known by Defendants;
      c.     That Defendants were aware of dangers ofthe shopping cart mover/caddy/pusher;
      d.     That the shopping cart mover/caddy/pusher was manufactured negligently;
      e.     That the shopping cart mover/caddy/pusher was manufactured defectively;
      f.     That the shopping cart mover/caddy/pusher was manufactured improperly;
      g.     That the shopping cart mover/caddy/pusher was designed negligently;
      h.     That the shopping cart mover/caddy/pusher was designed defectively; and
      i.     That the shopping cart mover/caddy/pusher was designed improperly.

49.   Defendants Wal-Mart Stores East, LP and/or one or more of the fictitious parties

      defendants listed and/or described in Plaintiffs' complaint were under a duty to disclose

      to Plaintiff the defective nature of the shopping cart mover/caddy/pusher.

50.   Defendants Wal-Mart Stores East, LP and/or one or more of the fictitious parties

      defendants listed and/or described in Plaintiffs' complaint had sole access to material

      facts concerning the defective nature of the product and its propensity to cause serious

      and dangerous side effects, and hence, cause damage to persons who used or were

      affected by the use of the shopping cart mover/caddy/pusher, including Plaintiff in

      particular.

51.   Defendants' concealment and omissions of materiat facts concerning, inter alia, the

      safety of the shopping cart mover/caddy/pusher were made purposefully, willfully,

      wantonly, and/or recklessly to mislead plaintiff into reliance and cause her to use the

      product.




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52.    Defendants Wal-Mart Stores East, LP and/or one or more of the fictitious parties

       defendants listed and/or described in Plaintiffs' complaint knew that Plaintiff had no way

       to determine the truth behind Defendants' concealment and omissions, and that these

       included material omissions of facts surrounding the shopping cart mover/caddy/pusher.

53.    Plaintiff reasonably relied on facts revealed which negligently, fraudulently and/or

        purposefully did not include facts that were concealed and/or omitted by defendants.

        WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just, punitive damages and attorneys fees, interest, and

costs of court.

                                        COUNT XI
                                    VICARIOUS LIABILITY
                                 WAL-MART STORES EAST,LP

54.    Plaintiffs reassert the averments contained in the foregoing paragraphs and incorporate

       such paragraphs in this Count of Plaintiffs' Cotnplaint by reference as if fully set out

       herein.

5.     The employee whO operated or in any way dealt with the shopping cart

        mover/caddy/pusher at issue and who was hired or employed by Defendants Wal-Mart

       Stores East, LP and/or one or more of the fictitious party defendants was acting in an

       agency relationship at the time he was negligent.

56.    The employees, agents and/or servants of Defendants Wal-Mart Stores East, LP and/or

       one or more of the fictitious party defendants listed and/or described in the caption of

       Plaintiffs' complaint, were acting within the line and scope of their authotity and for the

       benefit of Defendants Wal-Mart Stores East, LP and/or one Or more of the fictitious party




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       Defendants, in the use and operation of the shopping cart mover/caddy/pusher which is

       made the basis of the Plaintiffs' complaint.

57.    Defendants Wal-Mart Stores East, LP and/or one or more of the fictitious party

       defendants listed and/or described in the caption of the Plaintiffs' complaint are

       vicariously liable to the Plaintiffs for the injuries and damages as described hereinabove.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them, in an

amount which the jury deems fair and just tõ compensate plaintiffs, punitive damages and costs

ofcourt.

                                    COUNT XII
                  NEGLIGENT PERFORMANCE OF A VOLUNTARY UNDERTAKING
                              WAL-MART STORES EAST,LP

58.    Plaintiffs reassert the averments contained in the foregoing paragraphs and incorporate

       such paragraphs in this Count by reference as if fully set out herein.

59.    Prior to March 26, 2016, Defendants Wal-Mart Stores East, LP, and/or one or more ofthe

       fictitious party defendants listed and/or described in the caption of Plaintiffs' complaint,

       undertook to inspect the subject shopping cart mover/caddy/pusher in order to determine

       its safety and to improve and to promote its safety, but that on those occasions they

       negligently failed to perform said inspection properly.

60.    Prior to March 26, 2016, Defendants Wal-Mart Stores East, LP and/or one or more of the

       fictitious party defendants listed and/or described in the caption of Plaintiffs' complaint,

       negligently failed to correct an unsafe and dangerous condition as to the movement and

       possible   contact   with    patrons   in   and   around    the subject shopping cart

       mover/caddy/pusher, which said condition would have been obvious to any one skilled as

       a safety engineer.



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61.    Prior to March 26, 2016, Defendants Wal-Mart Stores East, LP and/or one or more of the

       fictitious party defendants listed and/or described in the caption of Plaintiffs' complaint,

       either knew of the said unsafe and dangerous condition or should have known it by an

       exercise of reasonable diligence. The said obviously unsafe condition consisted of

       improperly movement of carts being moved by the shopping cart mover/caddy/pusher at

       issue. Plaintiff relied upon said undertakings for her safety.

62.     As a proximate consequence of the negligence of Defendants Wal-Mart Stores East, LP

       and/or one or more of the fictitious party defendants listed and/or described in the caption

       of Plaintiffs' complaint in the performance which they voluntarily undertook, Plaintiff

       was injured and damaged as hereinabove set forth.

        WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just to compensate Plaintiffs, punitive damages and

costs of court.

                                      COUNT XIII
                                  PUNITIVE DAMAGES
                               WAL-MART STORES EAST,LP

63.    Plaintiffs adopt and reallege each and every allegation contained in previous paragraphs

       and incorporate same as if fully set out herein.

64.     At all times relevant hereto Defendants Wal-Mart Stores East, LP and/or one or more of

       the fictitious parties defendants listed and/or described in Plaintiffs' complaint knew or

       should have known that the shopping cart mover/caddy/pusher was inherently more

        dangerous than other shopping cart mover/caddy/pushers.

65.     At all times material hereto, Defendants Wal-Mart Stores East, LP and/or one or more of

       the fictitious parties defendants listed and/or described in Plaintiffs' complaint attempted



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      to misrepresent and did misrepresent facts concerning the safety of the shopping cart

      mover/caddy/pusher.

66.   Defendants' misrepresentation included knowingly withholding material information

      from the end user and the public, including Plaintiff, concerning the safety of the

      shopping cart mover/caddy/pusher.

67.   At all times material hereto, Defendants Wal-Mart Stores East, LP and/or one or more of

      the fictitious parties defendants listed and/or described in Plaintiffs' complaint knew and

      recklessly disregarded the fact that shopping cart mover/caddy/pushers cause debilitating

      and potentially lethal side effects with greater frequency than other similar devices.

68.   At all times material hereto, Defendants Wal-Mart Stores East, LP and/or one or more of

      the fictitious parties defendants listed and/or described in Plaintiffs' complaint

      intentionally misstated and misrepresented data so as to minimize the appearance of risks

      caused by the shopping cart mover/caddy/pusher.

69.   Notwithstanding the foregoing, one or more of the fictitious parties defendants listed

      and/or described in Plaintiffs' complaint continued to aggressively market the shopping

      cart mover/caddy/pusher to consumers, without disclosing the true risk of side effects

      where there were safer shopping cart mover/caddy/pushers.

70.   One or more of the fictitious parties defendants listed and/or described in Plaintiffs'

      complaint knew of the shopping cart mover/caddy/pusher's defective and unreasonably

      dangerous nature, but continued to manufacture, produce, assemble, market, distribute,

      and sell the product so as to maximize sales and profits at the expense of the health and

      safety of the Public, including Plaintiff, in conscious and/or negligent disregard of the

      foreseeable harm caused by the device.



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71.     Defendants Wal-Mart Stores East, LP and/or one or more of the fictitious parties

        defendants listed and/or described in Plaintiffs' complaint continue to intentionally

       conceal and/or recklessly and/or grossly negligently fail to disclose to the public,

       including Plaintiff, the potentially life threatening side effects of the shopping cart

        mover/caddy/pusher in order to ensure continued and increased sales.

72.     Defendants' intentionally reckless and/or grossly negligent failure to disclose information

        deprived plaintiff of necessary information to enable her to weigh the true risks of using

       the shopping cart mover/caddy/pusher and the shopping cart mover/caddy/pusher against

        its benefits.

        WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just, punitive damages, attorney's fees, interest, and

costs of court.

                                        COUNT XIV
                                   LOSS OF CONSORTIUM

73.    Plaintiffs adopt and reassert the averments contained in previous paragraphs, and

       incorporate the same by this reference.

74.     As a proximate consequence of the above described negligent/wanton conduct, Plaintiff

        Ricardo John Fitzgerald Edwards was caused to suffer the following injuries and

        damages: He lost, and continues to lose, the services of his wife, Tanya Edwards, as a

        result ofthe physical injuries which she sustained in the above mentioned incident.

        WHEREFORE, Plaintiffs demand judgment against the Defendants, and each of them, in

an amount which the jury deems fair and just to compensate Plaintiffs, punitive damages and

costs of court.




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                                                                  FEE001
                                                             FIRM — HUNTSVILLE
                                           401        adison Street
                                           P.O. Box 508
                                           Huntsville, AL 35804 •
                                           dfees@cochranfirm.com



                                     JURY DEMAND

                           Plaintiffs demand a trial by struc




                                                                 FEES


                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies copy ofthe foreg       as been erved upon counsel
for the defendants via Alafile and/or via   il, and/or in                t class postage paid
and properly addressed on this the               day of                       18:

W.Pemble Delashmet, Esq.
Chad C. Marchand, Esq.
Jon D. Roberts, Esq.
DELASTrIMET & MARCHAND,P.C.
Post Office Box 2047
Mobile, AL 36652
wpd®delmar-law.com
ccm@delmar-law.com
jdr®delmar-law.com




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